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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

UNITED STATES OF AMERICA,                  CR-16-58-BLG-SPW-CSO-02

             Plaintiff,
                                          FINDINGS AND
       vs.                                RECOMMENDATION OF
                                          U.S. MAGISTRATE JUDGE
KRISTA LYNN MARTINEZ,

             Defendant.

       The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11 and entered a plea of guilty to the sole count of the

Superseding Information, which charges the crime of Conspiracy to

Possess with Intent to Distribute Methamphetamine, in violation of 21

U.S.C. Section 846. After examining the Defendant under oath, the

Court determined:

       1. That the Defendant is fully competent and capable of entering

an informed and voluntary plea to the criminal offense charged against

her;
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      2. That the Defendant is aware of the nature of the charge

against her and the consequences of pleading guilty to the charge;

      3. That the Defendant fully understands her pertinent

constitutional rights and the extent to which she is waiving those

rights by pleading guilty to the criminal offense charged against her;

and

      4. That her plea of guilty to the criminal offense charged against

her is knowingly and voluntarily entered, and is supported by

independent factual grounds sufficient to prove each of the essential

elements of the offense charged.

      The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that Defendant fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true.

      Therefore, I recommend that the Defendant be adjudged guilty of

the charge in the Superseding Information and that sentence be

imposed.

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     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the

Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

     DATED this 24th Day of October, 2016.

                            /s/ Carolyn S. Ostby___________
                            United States Magistrate Judge
